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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


JEFFREY J. SPERRY,                                  )
                                                    )
              Plaintiff,                            )
                                                    )
v.                                                  )      Case. No. 16-CV-3222-JAR
                                                    )
LINDSEY WILDERMUTH, et al.                          )
                                                    )
              Defendants.                           )
                                                    )

                  NOTICE OF WITHDRAWAL OF COUNSEL AND
               ENTRY OF APPEARANCE OF SUBSTITUTED COUNSEL
       Pursuant to D. Kan. Rule 83.5.5(c), Matthew L. Shoger, Assistant Attorney General,

hereby enters his appearance as substituted counsel for Defendants Lindsey Wildermuth, Andrew

Lucht, K. Lee, Bill Shipman, Hanna Booth, and Robert Sapien. Dennis D. Depew, Deputy

Attorney General, hereby withdraws his appearance as counsel of record for Defendants.

       This notice is being served as required by D. Kan. Rule 83.5.5(c).

                                            Respectfully submitted,

                                            OFFICE OF ATTORNEY GENERAL
                                            DEREK SCHMIDT

                                            /s/ Matthew L. Shoger
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                                     CERTIFICATE OF SERVICE


         I hereby certify that on this 1st day of December, 2022, the foregoing document was filed
with the clerk of the court by using the CM/ECF system, which will send notice of electronic filing
to all registered parties and interested parties. I also hereby certify that a copy of the above will be
served by means of first-class mail, postage prepaid on December 2, 2002, addressed to:

       Jeffrey Sperry, #47031
       Lansing Correctional Facility
       P.O. Box 2
       Lansing, KS 66043-0002
       Plaintiff, pro se

                                               /s/ Matthew L. Shoger
                                               Matthew L. Shoger
                                               Assistant Attorney General




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